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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    Ben Kinney, individually and on behalf of
    others similarly situated,

                  Plaintiff,
                                                               Case No. 23 C 2523
           v.
                                                              Judge Jorge L. Alonso
    Amazon.com, Inc., et al.,

                  Defendants.

                                Memorandum Opinion and Order

          Plaintiff Ben Kinney brings claims against Defendants Amazon.com, Inc. and

Amazon.com Services LLC (collectively, “Amazon”) under the Illinois Consumer Fraud and

Deceptive Business Practices Act (“ICFA”), 815 ILCS 505/2, and the Washington Consumer

Protection Act (“WCPA”), Rev. Code Wash. § 19.86.020, and for breach of contract. Amazon has

filed a motion to dismiss Kinney’s complaint for failure to state a claim (ECF No. 26), which the

Court grants for the reasons below.

                                          Background 1  0F




          Kinney subscribed to Defendants’ Amazon Prime service, which gives users access to

additional services for a monthly or annual fee. (Am. Compl. ¶¶ 11–12, ECF No. 22.) One of

Amazon Prime’s claimed benefits is access to exclusive online deals and savings made available


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  The following factual background is taken from the allegations in Kinney’s complaint (ECF
No. 22), which are taken as true and construed in Kinney’s favor for purposes of Amazon’s
motion to dismiss. See Zahn v. N. Am. Power & Gas, LLC, 815 F.3d 1082, 1087 (7th Cir. 2016).
The court also considers “documents attached to the complaint, documents that are critical to the
complaint and referred to in it, and information that is subject to proper judicial notice,” along
with additional facts set forth in Kinney’s brief opposing dismissal, so long as those additional
facts “are consistent with the pleadings.” Phillips v. Prudential Ins. Co. of Am., 714 F.3d 1017,
1020 (7th Cir. 2013) (internal quotation marks omitted).
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only to Amazon Prime members, including Amazon’s “Early Access Sale” and “Amazon Prime

Days.” (Id. ¶¶ 13–14.) Kinney relied on being able to access those exclusive savings

opportunities when agreeing to join Amazon Prime and paying its monthly fee beginning in

October 2022. (Id. ¶¶ 16–18, 23.)

       In October 2022, Kinney learned that Amazon was selling an LG television as part of an

Early Access Day sale. (Id. ¶ 24.) Amazon priced the television at $1,496.99, marked down from

$2,499 and advertised as being sold at a 40% discount. (Id. ¶ 25.) Amazon also included a

countdown timer for the sale which indicated that the television needed to be purchased quickly

to obtain the advertised discount. (Id.) When Kinney proceeded to purchase the television, the

list price changed to $2,199 and the reference to a 40% discount was removed; the deal was

instead displayed as a $700 price reduction and shown as a “Lightning Deal,” though the final

pre-tax price remained $1,496.99 (Id. ¶ 27.) Kinney purchased the television based on the listed

discounts. (Id. ¶¶ 28–29.)

       Though Kinney did not know it at the time, Amazon had previously sold the television

for under $1,600 in the months leading up to the sale, but increased the price to $2,100 shortly

before the sale. (Id. ¶¶ 26, 31, 33, Ex. D.) Kinney thus saved about $100 for the television

relative to Amazon’s prior pricing for the television by participating in the Early Access Day

sale. (Id. ¶ 27.) At various times after Kinney bought the television, the television was available

from Amazon and other sellers for less than what Kinney paid. (Id. ¶ 46.)

       In April 2023, Kinney filed a class-action complaint against Amazon in this Court, which

was later superseded by his operative first amended complaint (ECF No. 22) alleging claims

under the ICFA and WCPA and for breach of contract. Amazon has filed a motion to dismiss




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Kinney’s amended complaint for failure to state a claim under Federal Rule of Civil Procedure

12(b)(6), which the Court now considers. (ECF No. 26.)

                                          Legal Standard

        “A motion under Rule 12(b)(6) tests whether the complaint states a claim on which relief

may be granted.” Richards v. Mitcheff, 696 F.3d 635, 637 (7th Cir. 2012). Under Rule 8(a)(2), a

complaint must include “a short and plain statement of the claim showing that the pleader is

entitled to relief.” Fed. R. Civ. P. 8(a)(2). The short and plain statement under Rule 8(a)(2) must

“‘give the defendant fair notice of what . . . the claim is and the grounds upon which it rests.’”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47

(1957)). Under federal notice-pleading standards, a plaintiff’s “[f]actual allegations must be

enough to raise a right to relief above the speculative level.” Id. Stated differently, “a complaint

must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Id. (citing

Twombly, 550 U.S. at 556).

                                             Discussion

        The Court addresses each of Kinney’s three claims below and concludes that none states

a claim.

  1. Kinney’s ICFA and WCPA Claims

        Kinney brings a claim against Amazon under each the ICFA and the WCPA. “To recover

on a claim under the [ICFA], a plaintiff must plead and prove that the defendant committed a

deceptive or unfair act with the intent that others rely on the deception, that the act occurred in



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the course of trade or commerce, and that it caused actual damages.” Vanzant v. Hill’s Pet

Nutrition, Inc., 934 F.3d 730, 736 (7th Cir. 2019) (citation omitted). To prevail under the WCPA,

“the plaintiff must prove (1) an unfair or deceptive act or practice, (2) occurring in trade or

commerce, (3) affecting the public interest, (4) injury to a person’s business or property, and (5)

causation.” Panag v. Farmers Ins. Co. of Wash., 166 Wash. 2d 27, 37, 204 P.3d 885 (2009)

(citation omitted).

       Kinney asserts three bases for his ICFA and WCPA claims: (1) Amazon’s promise of

exclusive deals and a wide range of savings to Amazon Prime customers but use of fictitious sale

prices; (2) Amazon’s use of countdown timers to create a false sense of urgency; and (3)

Amazon’s use of inflated prices prior to sales events to then claim inflated discounts. The Court

first addresses Amazon’s promise of exclusive deals, then addresses the other two matters.

           A. Promises to Amazon Prime Customers Regarding Exclusive Deals

       Kinney claims Amazon engaged in unfair and deceptive practices by promising Amazon

Prime customers exclusive deals, including during Early Access Day sales, but misrepresenting

the discounts that customers were receiving. It specifically points to Amazon’s use of “strike-

through” and “list” prices, which it alleges do not conform to nonbinding Federal Trade

Commission guides regarding pricing.

       Regardless of the specifics of Amazon’s use of strike-through and list prices, exclusive

deals are what Kinney was promised and what he received as a result of his Amazon Prime

membership—including for the television he purchased. Kinney himself alleges he purchased the

television at a savings of around $100 as part of an exclusive deal for Amazon Prime customers

and does not claim he could have purchased the television from Amazon at that price without an

Amazon Prime membership. He instead complains that he was not getting as good of a deal as he




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thought—he was saving only $100 rather than $700. This does not change the fact that he was

able to participate in exclusive sales like Early Access Day sales by becoming an Amazon Prime

member—just as he was promised—and did purchase a television at an exclusive discount.

       At most, Kinney indicates that he could have purchased the television for even less at

some later time had he waited. This does not state a claim, since “[a] statement or label cannot

mislead unless it actually conveys untrue information about a product,” and Kinney does not

dispute that the deal he received on his television was the best one available at the time he

purchased it. Stemm v. Tootsie Roll Indus., Inc., 374 F. Supp. 3d 734, 740, 743 (N.D. Ill. 2019)

(adding that “[a] court may dismiss an ICFA claim at the pleading stage if the statement is not

misleading as a matter of law,” and “[t]hat [plaintiff] expected to receive something more than

what she got, in and of itself, does not constitute actual damages” (internal quotation marks and

citations omitted)); see also Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 739 (7th Cir.

2014) (affirming dismissal where the plaintiff offered mere “speculative and conclusory”

statements that he could have shopped around and found a lower price). Kinney therefore has not

stated a claim under the ICFA or WCPA related to this alleged conduct.

           B. Use of Countdown Timers and Inflating Prices Prior to Sales Events

       Kinney alleges two other unfair and deceptive acts during his purchase of the television.

First, he alleges that Amazon uses countdown timers that create a false sense of urgency and

pressures consumers into purchasing a product. Second, he alleges that Amazon inflates its prices

before sales events, which then makes the sales discounts appear larger than they really are.

       Even assuming Kinney has sufficiently alleged that these acts were deceptive, he has not

adequately pleaded damages and so has not stated a claim. To satisfy the damages element,

Kinney must suffer “actual pecuniary loss”; that is, “that the value of what []he received was less




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than the value of what []he was promised.” Mulligan v. QVC, Inc., 382 Ill.App.3d 620, 628, 888

N.E.2d 1190 (2008). For an action brought by an individual consumer like Kinney, “actual loss

may occur if the seller’s deception deprives the plaintiff of ‘the benefit of her bargain’ by causing

her to pay ‘more than the actual value of the property.’” Kim v. Carter’s Inc., 598 F.3d 362, 365

(7th Cir. 2010) (quoting Mulligan, 888 N.E.2d at 1197–98). 2 1F




       Kinney has not alleged or argued that the price he paid for his television was less than it

was worth—he admitted that it represented at least a $100 discount against the lowest available

price at that time. Kinney also claims that a sense of urgency and inflated discounts were

deceptive, but does not explain how the television he purchased “was defective or worth less

than what [he] actually paid,” or that he “could have shopped around and obtained a better price

in the marketplace” at the time. Kim, 598 F.3d at 365 (finding no ICFA damages for alleged

deceptive use of discounts based on “an inflated, fictitious ‘Suggested Price’”). Kinney must

allege “that he paid more than the actual value of the merchandise he received” or “did, in fact

shop around and find the same [merchandise] for a lower price” notwithstanding that the sales

technique he was subjected to “encourages a sense of urgency and makes customers feel

‘pressure’ to make purchases before an expected deadline.” Camasta, 761 F.3d at 739 (finding no

ICFA damages and upholding dismissal for failure to state a claim). Kinney has not done so, and

thus has not adequately pleaded damages under the ICFA and WCPA related to Amazon’s alleged

countdown timers or inflated pre-sale prices.




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  Neither party contends that the WCPA meaningfully differs from the ICFA regarding damages
for purposes of Amazon’s motion to dismiss.


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       Accordingly, the Court dismisses Kinney’s ICFA and WCPA claims for failure to state a

claim and need not address the parties’ other arguments regarding those claims, including

whether they meet Federal Rule of Civil Procedure 9(b)’s pleading requirements.

  2. Kinney’s Breach-of-Contract Claim

       Having dismissed Kinney’s ICFA and WCPA claims, the Court turns to his breach-of-

contract claim. Kinney claims that Amazon breached its promise of providing exclusive,

substantial savings to Amazon Prime customers by not following Federal Trade Commission

guides in its pricing and fictitiously increasing the price of products before its Early Access Sale,

resulting in Kinney saving $100 rather than $700 on the television he purchased.

       “In order to establish a claim for breach of contract, a plaintiff must allege and prove the

following elements: (1) the existence of a valid and enforceable contract; (2) performance by the

plaintiff; (3) breach of contract by the defendant; and (4) resultant injury to the plaintiff.”

Burkhart v. Wolf Motors of Naperville, Inc. ex rel. Toyota of Naperville, 2016 IL App (2d)

151053, ¶ 14, 61 N.E.3d 1155 (internal quotation marks and citation omitted).

       Like for Kinney’s ICFA and WCPA claims related to Amazon’s alleged promise to offer

Kinney and other Amazon Prime customers exclusive deals, Kinney has not alleged how

Amazon failed to offer him exclusive savings as an Amazon Prime customer as promised.

Instead, he admits he had the exclusive opportunity to, and did, purchase a television at a $100

discount because he was an Amazon Prime customer. Thus, Amazon did not breach its alleged

promise to provide him with “Prime Exclusive Savings” to recruit him into the Amazon Prime

program. And to the extent Kinney points to Amazon’s pricing and advertising for the television

he purchased, he has not alleged damages because, as already explained for Kinney’s ICFA and

WCPA claims, he has not alleged that the television he purchased was worth less than what he




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paid for it. TAS Distrib. Co. v. Cummins Engine Co., 491 F.3d 625, 631 n.6 (7th Cir. 2007)

(“Illinois law is clear that, to state a claim for breach of contract, one must be able to prove

actual damage.”); Mulligan, 382 Ill.App.3d at 628. The Court therefore dismisses Kinney’s

breach-of-contract claim for failure to state a claim.

                                            Conclusion

       The Court grants Amazon’s motion to dismiss (ECF No. 26) and dismisses Kinney’s

amended complaint with prejudice. 3 Civil case terminated.
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SO ORDERED.                                                    ENTERED: February 29, 2024




                                                               _____________________________
                                                               HON. JORGE ALONSO
                                                               United States District Judge




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  Kinney has not requested leave to amend his complaint. The Court therefore dismisses his
complaint with prejudice. See Haywood v. Massage Envy Franchising, LLC, 887 F.3d 329, 335
(7th Cir. 2018) (“Nothing in Rule 15, or in any of our cases, suggests that a district court must
give leave to amend a complaint where a party does not request it or suggest to the court the
ways in which it might cure the defects.”).


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